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EVELYN BYRD AND RENE GIBBS

PLAINTIFF(S),

VS.

WEREKO KWAME, ZOBENG TRUCKING,

LLC

, JOHN AND JANE DOE 1-10

(FICTITIOUS UNIDENTIFIED
INDIVIDUALS) AND ABC CORPORATION

1-10

(FICTITIOUS UNIDENTIFIED

BUSINESS ENTITIES)

Defendant(s).

 

 

STATE OF NEW JERSEY
SUPERIOR COURT
LAW DIVISION: UNION COUNTY

Docket No.: UNN-L-000029-21
CIVIL ACTION

FIRST AMENDED COMPLAINT, JURY
DEMAND, DESIGNATION OF TRIAL
COUNCIL, DEMAND FOR INSURANCE
POLICY LIMITS AND DEMAND FOR
ANSWERS TO INTERROGATORIES

PLAINTIFF EVELYN BYRD residing at 1081 Magnolia Avenue, City of Elizabeth,

County of Union and State of New Jersey hereby state as follows:

PLAINTIFF RENE GIBBS residing at 538 Livingston Street, City of Elizabeth, County

of Union and State of New Jersey hereby state as follows:

FIRST COUNT

1. On or about April 12, 2019, PLAINTIFF EVELYN BYRD was operating a motor vehicle

carrying passenger PLAINTIFF RENE GIBBS at or near the general area and Vicinity of

Randolph Avenue and Route | in the Town of Rahway, County of Union and State of New

Jersey.

On or about April 12, 2019 and at all times relevant thereto, DEFENDANT WEREKO

KWAME was operating a vehicle owned by DEFENDANT ZOBENG TRUCKING, LLC,

at or near the general area and vicinity of Randolph Avenue and Route 1 in the Town of

Rahway, County of Middlesex and State of New Jersey.

 
 

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3. Onor about April 12, 2019 and at all times relevant thereto, DEFENDANT WEREKO
KWAME operated a 2015 commercial vehicle bearing North Carolina plates owned by
DEFENDANT ZOBENG TRUCKING, LLC which commercial vehicle was being used by
DEFENDANT KWAME as permissive user of the owner and/or as the agent, servant,
and/or employee of the owner and which commercial vehicle was traveling at or near
general Randolph Avenue and Route 1 in the Town of Rahway, County of Middlesex and
State of New Jersey.

4. On or about April 12, 2019 and at all times relevant thereto, DEFENDANTS, JOHN AND
JANE DOE 1-10 (fictitious unidentified individuals) and ABC CORPORATION 1-10
(fictitious unidentified business entities), are heretofore unidentified individuals, named
herein for the express purpose of tolling the applicable Statutes of Limitation were
operating a motor vehicle at or near the general vicinity of Randolph Avenue and Route 1
in the Town of Rahway, County of Union and State of New Jersey

5. On or about April 12, 2019 and at all times relevant thereto, DEFENDANTS WEREKO
KWAME, ZOBENG TRUCKING, LLC, JOHN AND JANE DOE 1-10 (fictitious
unidentified individuals) and ABC CORPORATION 1-10 (fictitious unidentified business
entities), did so carelessly, recklessly and negligently own, entrust, maintain, repair and/or
operate the aforementioned motor vehicle so as to cause same strike Plaintiffs vehicle
when properly stopped and to be involved in a collision and injured PLAINTIFFS

EVELYN BYRD and RENE GIBBS.
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6. Asa direct and proximate result of the negligence of the DEFENDANTS as
aforementioned, PLAINTIFFS EVELYN BYRD and RENE GIBBS were caused to sustain
and did sustain, individually, severe and permanent personal injuries with extreme pain
and suffering, requiring medical attention and treatment resulting in cost and medical bills,
rendering each individual plaintiff disabled and/or impaired, preventing each individual
plaintiff from engaging in their respective normal activities and pursuits and thereby
incurring lost wages; which injuries will in the future cause each Plaintiff individually to
suffer pain and suffering, will require each Plaintiff individually to incur medical attention
and treatment and cause each individually plaintiff future disability and impairment.

7. This action is not barred by NJSA 39:6A-1, et seq.

WHEREFORE, PLAINTIFFS EVELYN BYRD and RENE GIBBS each and
individually demands judgment against the DEFENDANTS WEREKO KWAME, ZOBENG
TRUCKING, LLC, JOHN AND JANE DOE 1-10 (fictitious unidentified individuals) and
ABC CORPORATION 1-10 (fictitious unidentified business entities), jointly, severally or in

the alternative in the amount of his damages, together with interest and costs of suit.

JURY DEMAND

Plaintiff demands a trial by jury of all issues as permitted by law.

DESIGNATION OF TRIAL COUNSEL
Pursuant to Rule 4:25-4, the Law Offices of Jorge L. Hernandez, LLC, attorney for

Plaintiff, hereby appoint Jorge L. Hernandez as trial counsel.

 
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DEMAND FOR INSURANCE COVERAGE
In accordance with Rule 4:10-2, Defendants are demanded to provide a complete copy
of the applicable Liability Insurance Policies, including any excess or umbrella policies, with

Declaration Sheets within thirty (30) days of service of this Complaint.

DEMAND FOR ANSWERS TO UNIFORM AND SUPPLEMENTAL
INTERROGATORIES

PLEASE TAKE NOTICE that pursuant to Rule 4:17-1 (b)(ii)(2), Plaintiffs hereby
demand answers to Uniform Interrogatories Form C and Form C(1) within sixty (60) days of
the filing of Defendant’s Answer to this Complaint.

PLEASE TAKE FURTHER NOTICE that pursuant to Rule 4:17-1(b)(i)(1) and Rule
4:17-2, Plaintiffs hereby demands answers to the attached Supplemental Interrogatories within

sixty (60) days of the filing of Defendants’ Answer to this Complaint.

SUPPLEMENTAL INTERROGATORIES PERMITTED PURSUANT
TO RULE 4:17-1(b)(i)

S1. State whether Defendant driver operated the subject motor vehicle as permissive user of
the owner and/or as the agent, servant, and/or employee of the owner and state with detail and
with particularity the relationship of Defendant driver to Defendant Owner.

S2. Pursuant to Rule 4:17-4, please designate any information set forth in your answers to
these interrogatories which is not within the answerer’s personal knowledge and as to that
information please state the name and address of every person from whom it was received, or,
if the source of the information is documentary, a full description of the document(s) including

the location thereof.
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S3. State the name and address of the location where the operator of Defendant’s motor
vehicle last entered Defendant’s motor vehicle prior to the time of the alleged accident.

S4. Beginning from the location where the operator of Defendant’s motor vehicle last entered
said vehicle prior to the accident as set forth in the immediately preceding interrogatory,
describe the course of travel taken by the operator of Defendant’s vehicle up to the location of
the accident setting forth street names and directions traveled.

S5. State whether an estimate of the damage to Defendant’s vehicle was made subsequent to
the subject accident, and if so, please state the name and address of the person, firm and/or
corporation providing the estimate of damage, the date the estimate of damage was obtained

and annex hereto a copy of any written estimate.

CERTIFICATION
I certify that the within controversy is not the subject of any other action pending in any
other court or of any pending arbitration proceeding pending or contemplated and that I know

of no other party who should be joined in this action.

LAW OFFICES OF JORGE L. HERNANDEZ, LLC

ATTORNEYS FOR PLAINTIFFS
EVELYN BYRD AND RENE GIBBS

 

Date: LiL / @¢2/ VeK att<,

By: Jorge L. Hernandez, Esq.
